






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00312-CV






Pam Stallings, Appellant


v.


Marc Gahm Guisinger, Appellee





FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 395TH JUDICIAL DISTRICT

NO. 01-1156-F395, HONORABLE MICHAEL JERGINS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Stallings's notice of appeal was filed on May 7, 2004.  We have not
received a clerk's record or reporter's record.  We have been notified by the district clerk's office
of Williamson County, Texas and the court reporter that Stallings has neither paid, nor made
arrangements for payment, for the clerk's and reporter's records.  On October 4, 2004, our clerk's
office sent a notice to Stallings requesting a status report regarding the matter and cautioning
Stallings that the failure to submit a status report would result in dismissal of the appeal for want of 

prosecution.  To date, Stallings has not responded in any way to that notice.  Accordingly, we
dismiss the appeal for want of prosecution.  Tex. R. App. P. 42.3(b).


						                                                                                    

						Bea Ann Smith, Justice

Before Chief Justice Law, Justices Kidd and B. A. Smith

Dismissed for Want of Prosecution

Filed:   November 18, 2004


